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                                      ORIGINAL
  3n tlje WLnittb States; Court of jfeberal Claims?
                               OFFICE OF SPECIAL MASTERS
                                          No. 15-1128V                              FILED
                                      Filed: February 4, 2016
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                                                             UNPUBLISHED                   0SM
KATHLEEN HEYER,                               *                                        U.S. COURT OF
                                                                                      FEDERAL CLAIMS
                                              *
                                                             Special Master Hamilton-Fieldman
                       Petitioner,            *

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                                                             Petitioner's Motion for Dismissal
                                              *
                                                             Decision; Influenza ("Flu")
                                              *
SECRETARY OF HEALTH                                          Vaccine; Diffuse Inflammation.
                                              *
AND HUMAN SERVICES,

                       Respondent.            *

Kathleen Heyer, Pro Se, Cedar Rapids, IA.
Glenn MacLeod, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION'

       On October 6, 2015, Kathleen Heyer ("Petitioner") filed a petition for compensation
under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-l et sea, (2006)
("Vaccine Act"). Petitioner alleged that the administration of an influenza ("flu") vaccine on
October 8, 2012 caused her to suffer from "ongoing diffuse inflammation adversely affecting her
autoimmune system and quality of life." The undersigned now finds that the information in the
record does not show entitlement to an award under the Program.

        On February 1, 2016, Petitioner filed a Motion for a Decision Dismissing her Petition.
According to the motion, "[a]n investigation of the facts and science supporting [her] case has
demonstrated to petitioner that [she] will be unable to prove that [she] is entitled to compensation
in the Vaccine Program." Petitioner further states that she understands that a dismissal decision
will result in a judgment against her, and that such a judgment will end all of her rights in the
Vaccine Program.

' Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims'
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
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        To receive compensation under the Vaccine Act, Petitioner must prove either 1) that she
suffered a "Table Injury" - i.e., an injury falling within the Vaccine Injury Table - corresponding
to her vaccination, or 2) that she suffered an injury that was actually caused by a vaccine. See §§
3OOaa-13(a)(1)(A) and 300aa-l 1(c)(1). An examination of the record did not uncover any
evidence that Petitioner suffered a "Table Injury." Further, the record does not contain a medical
expert's opinion or any other persuasive evidence indicating that her injuries were caused by a
vaccination.


        Under the Vaccine Act, a petitioner may not be awarded compensation based solely on
the petitioner's claims alone. Rather, the petition must be supported by either medical records or
by the opinion of a competent physician. § 300aa-13(a)(l). In this case, because the medical
records are insufficient to establish entitlement to compensation, a medical opinion must be
offered in support. Petitioners, however, have offered no such opinion.

       Therefore, the only alternative remains to DENY this petition. Thus, this case is
dismissed for insufficient proof. In the absence of a motion for review, the Clerk shall
enter judgment accordingly.
                                                                               _   s.

       IT IS SO ORDERED.



                                                     Lisa D. Hamilton-Fieldman
                                                     Special Master
